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                   6 Attorneys for Defendant
                     Anthony Giarratano
                   7

                   8                             UNITED STATES DISTRICT COURT

                   9                           NORTHERN DISTRICT OF CALIFORNIA

               10                                      SAN FRANCISCO DIVISION

               11 JOHN DOE 1, JOHN DOE 2, JOHN DOE 3,                  Case No.: 3:22-cv-01559-LB
                  JOHN DOE 4, JOHN DOE 5, JOHN DOE 6,
               12 JOHN DOE 7, JOHN DOE 8, JOHN DOE 9,                  STIPULATION REGARDING THE
                  JOHN DOE 10, JOHN DOE 11, JOHN DOE                   DEFENDANTS’ DEADLINE TO
               13 12, JOHN DOE 13, and JOHN DOE 14,                    RESPOND TO THIRD AMENDED
                  individually and on behalf of all others             CLASS ACTION COMPLAINT OR
               14 similarly situated,                                  POTENTIAL FOURTH AMENDED
                                                                       CLASS ACTION COMPLAINT
               15                         Plaintiff,
               16                v.
               17 THE UNIVERSITY OF SAN FRANCISCO,
                  ANTHONY N. (AKA NINO) GIARRATANO,
               18 and TROY NAKAMURA,

               19                         Defendant.
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FUTTERMAN DUPREE
  DODD CROLEY
    MAIER LLP                           STIPULATION REGARDING THE DEFENDANTS’ DEADLINE TO RESPOND TO
                           THIRD AMENDED CLASS ACTION COMPLAINT OR POTENTIAL FOURTH AMENDED CLASS ACTION COMPLAINT
                                                            Case No.: 3:22-cv-01559-LB
                          Case 3:22-cv-01559-LB Document 135 Filed 09/13/23 Page 2 of 4



                    1         Pursuant to Civ. L.R. 6-1 and 7-12, Plaintiffs John Does 1 through 14 (“Plaintiffs”), the

                    2 University of San Francisco (“USF”), and Anthony Giarratano and Troy Nakamura (collectively,
                    3 “Coach Defendants” and with USF “Defendants”) hereby stipulate as follows:
                    4                                          STIPULATION

                    5         WHEREAS, on August 30, 2023, Plaintiffs filed their 125-page Third Amended Class

                    6 Action Complaint in this action;
                    7         WHEREAS, the Defendants’ current deadline to respond to the Third Amended Class

                    8 Action Complaint is September 13, 2023, see Dkt. 133;
                    9         WHEREAS, USF plans to move to dismiss the Third Amended Class Action Complaint;

               10             WHEREAS, in order to effectuate a more orderly and efficient progression of the

                   11 litigation, the parties have agreed that Coach Defendants’ response to the operative pleading will

               12 be due twenty days from date of the Court’s ruling on USF’s motion to dismiss (“the Ruling”) or
               13 the deadline stated in the Ruling for USF’s response; and

               14             WHEREAS, the parties agree that USF’s response to the operative pleading will be due

               15 twenty days from the Ruling or twenty days from the filing of the Fourth Amended Class Action

               16 Complaint, unless the Court sets a deadline for USF’s response in the Ruling.

               17             THEREFORE, the Parties hereby stipulate and agree as follows:

               18             Coach Defendants shall answer or otherwise respond to the Third Amended Class Action

               19 Complaint or any amended complaint arising from the Ruling (i.e., Fourth Amended Class
               20 Action Complaint, if any is filed) no later than twenty days from the Ruling or any deadline

               21 stated in the Ruling for USF’s response;

               22             If the Court denies USF’s motion to dismiss, USF shall answer the Third Amended Class

               23 Action Complaint no later than twenty days after the Ruling, or by any deadline set for USF’s

               24 response in the Ruling. If the Court grants USF’s motion and Plaintiffs file a Fourth Amended
               25 Class Action Complaint, USF’s response to that pleading will be due twenty days after that

               26 filing, unless the Court sets a different deadline in its Ruling.

               27 ///
               28 ///
FUTTERMAN DUPREE                                                       1
  DODD CROLEY
    MAIER LLP                            STIPULATION REGARDING THE DEFENDANTS’ DEADLINE TO RESPOND TO
                            THIRD AMENDED CLASS ACTION COMPLAINT OR POTENTIAL FOURTH AMENDED CLASS ACTION COMPLAINT
                                                             Case No.: 3:22-cv-01559-LB
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                   1        SO STIPULATED.

                   2 Dated: September 12, 2023            Respectfully submitted,

                   3                                      FUTTERMAN DUPREE DODD CROLEY MAIER LLP
                   4                                      By: /s/ Daniel A. Croley
                                                                Daniel A. Croley
                   5                                            Futterman Dupree Dodd Croley Maier LLP
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                                                                Attorneys for Defendant
                   8                                            Anthony Giarratano
                   9
               10 Dated: September 12, 2023               FEGAN SCOTT LLC

                   11                                     By:    /s/ Lynn Ellenberger
                                                                 Lynn Ellenberger
               12                                                Fegan Scott LLC
                                                                 500 Grant Street, Suite 2900
               13                                                Pittsburgh, PA 15219
                                                                 Phone: (412) 345-4101
               14                                                Email: lynn@feganscott.com
               15

               16 Dated: September 12, 2023               LIEFF CABRASER HEIMANN & BERNSTEIN, LLP
               17                                         By:   /s/ Jonathan Selbin
                                                                 Jonathan Selbin
               18                                                Lieff Cabraser Heimann & Bernstein, LLP
                                                                 275 Battery Street, 29th Floor
               19                                                San Francisco, CA 94111
                                                                 Phone: (415) 956-1000
               20                                                Email: jselbin@lchb.com
                                                                 Attorneys for Plaintiffs and
               21                                                the Proposed Class
               22
               23 Dated: September 12, 2023               SCOTT RAPKIN

               24                                         By: /s/ Scott Brian Rapkin
                                                                Scott Brian Rapkin
               25                                               Rapkin & Associates, LLP
                                                                475 Washington Blvd.
               26                                               Marina del Rey, CA 90292
                                                                Phone: (310) 319-5465
               27                                               Email: scottrapkin@rapkinesq.com
                                                                Attorneys for Defendant
               28                                               Troy Nakamura
FUTTERMAN DUPREE                                                    2
  DODD CROLEY
    MAIER LLP                          STIPULATION REGARDING THE DEFENDANTS’ DEADLINE TO RESPOND TO
                          THIRD AMENDED CLASS ACTION COMPLAINT OR POTENTIAL FOURTH AMENDED CLASS ACTION COMPLAINT
                                                           Case No.: 3:22-cv-01559-LB
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                    1 Dated: September 12, 2023             STEPTOE & JOHNSON LLP

                    2                                       By: /s/ Jonathan M. Baum
                                                                  Jonathan M. Baum
                    3                                             Steptoe & Johnson
                                                                  One Market Plaza
                    4                                             Steuart Tower, Ste. 1070
                                                                  San Francisco, CA 94105
                    5                                             Phone: (415) 365-6700
                                                                  Email: jbaum@steptoe.com
                    6                                             Attorneys for Defendant
                                                                  The University of San Francisco
                    7

                    8
                    9                                         ATTESTATION
               10             I hereby attest, pursuant to Northern District of California, Local Rule 5-1(h)(3) that
                   11 concurrence to the filing of this document has been obtained from each signatory hereto.

               12 Dated: September 12, 2023                 FUTTERMAN DUPREE DODD CROLEY MAIER LLP
               13
                                                            By: /s/ Daniel A. Croley
               14                                                  Daniel A. Croley
                                                                   Attorneys for Defendant
               15                                                  Anthony Giarratano

               16

               17
               18                                                 ORDER

               19             PURSUANT TO STIPULATION, IT IS SO ORDERED.

               20

               21       ___________________
                              DATED
               22
               23                                                       HON. LAUREL BEELER
                                                                  UNITED STATES MAGISTRATE JUDGE
               24
               25

               26

               27
               28
FUTTERMAN DUPREE                                                      3
  DODD CROLEY
    MAIER LLP                            STIPULATION REGARDING THE DEFENDANTS’ DEADLINE TO RESPOND TO
                            THIRD AMENDED CLASS ACTION COMPLAINT OR POTENTIAL FOURTH AMENDED CLASS ACTION COMPLAINT
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